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                EXHIBIT 7
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October 13, 2021

The Honorable Donald J. Trump

Dear President Trump:

After consultation with the Counsel to the President and the Acting Assistant Attorney
General for the Office of Legal Counsel, and as instructed by President Biden, I have
determined to disclose to the Select Committee the pages below, which you identified
as privileged in your letter of October 8, 2021. Pursuant to President Biden’s
subsequent instruction and my authority under 36 C.F.R. 1270.44(g), I will deliver these
pages to the Select Committee in 30 days (on November 12, 2021), absent any
intervening court order:

   ● P00001

   ● P00002

   ● P00005

   ● P00006

   ● P00007-P00009

   ● P00010

   ● P00011-P00012

   ● P00013-P00014

   ● P00015

   ● P00016

   ● P00017

   ● P00045-P00049

   ● P00051

   ● P00053-P00058
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   ● P00060

   ● P00061

   ● P00121-P00122

   ● P00123-P00128

   ● P00131-P00132

Please note that pages P0004 and P00115-P00120 are not responsive to the Select
Committee’s request, and therefore I will not provide them to the Select Committee.
The remaining 90 pages covered by our August 30, 2021 notification are not subject to
any assertion of privilege, and therefore I intend to provide them to the Select
Committee today.

Sincerely,




DAVID S. FERRIERO
Archivist of the United States
